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                  Plaintiff’s Proposed Search Terms and Custodians

                                      Search Terms

   “company-specific”
   “company specific”
   spoof*
   Hossfeld
   “Transfer Kings”
   TK
   Basit
   “Michael Bradley”
   “Michael Johnson”
   PolicyGenius
   “KP Leads”
   external /3 vendor*
   block* /5 “call* ID”
   DNC /5 internal
   TCPA
   scrub*
                                       Custodians

   Allstate Agents Associated with Calls to Plaintiff
        o Jason Fleming
        o Daniel Gilmond
        o Alfonso Perez
        o Richard Guerra
        o Justin Powell
   Mary Beth Warner
   Alan Wroblewski
   Valerie Lim
   Brian Bloom
